Case 1:25-cv-00218-MJT-ZJH            Document 3        Filed 05/28/25       Page 1 of 2 PageID #: 29




                           IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF TEXAS

                                       BEAUMONT DIVISION

 JERRY LEE HUTTO                                    §

 VS.                                                §        CIVIL ACTION NO. 1:25-CV-218

 DIRECTOR, TDCJ-CID                                 §

                      MEMORANDUM OPINION REGARDING TRANSFER

         Petitioner Jerry Lee Hutto, an inmate confined at the LeBlanc Unit of the Texas Department

 of Criminal Justice, Correctional Institutions Division, proceeding pro se, filed this petition for writ

 of habeas corpus pursuant to 28 U.S.C. § 2254.

         The petition was referred to the undersigned magistrate judge pursuant to 28 U.S.C. § 636

 for findings of fact, conclusions of law, and recommendations for the disposition of the case.

                                              Discussion

         Title 28 U.S.C. § 2254(a) allows a district court to “entertain an application for a writ of

 habeas corpus in behalf of a person in custody pursuant to the judgment of a State court only on the

 ground that he is in custody in violation of the Constitution or laws or treaties of the United States.”

 28 U.S.C. § 2254(a). A state prisoner is required to file his federal petition for writ of habeas corpus

 in either the district where the prisoner is incarcerated or the district where the prisoner was

 convicted and sentenced. 28 U.S.C. § 2241(d). Although both district courts have jurisdiction to

 entertain the application, “[t]he district court for the district wherein such an application is filed in

 the exercise of its discretion and in furtherance of justice may transfer the application to the other

 district court for hearing and determination.” Id.
Case 1:25-cv-00218-MJT-ZJH           Document 3       Filed 05/28/25      Page 2 of 2 PageID #: 30




        Petitioner filed this petition in the Beaumont Division of the Eastern District of Texas.

 However, Petitioner was convicted and sentenced in Montague County, which is located in the

 Wichita Falls Division of the Northern District of Texas.           The court has considered the

 circumstances and has determined that the interests of justice would be served by transferring this

 petition to the district where Petitioner was convicted and sentenced. Therefore, the petition should

 be transferred to the Northern District of Texas for hearing and determination. It is accordingly

        ORDERED that this petition for writ of habeas corpus is TRANSFERRED to the Wichita

 Falls Division of the United States District Court for the Northern District of Texas.



                        SIGNED this 28th day of May, 2025.




                                                                      _________________________
                                                                      Zack Hawthorn
                                                                      United States Magistrate Judge




                                                  2
